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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                     Baltimore Division

RYE KEISHA JEFFERS,

         PLAINTIFF,

vs.

RAQUEL HARRISON-BAILEY, NEISHA L.                             CIVIL ACTION NO.
BROWN., NEILE HICKS and MARYLAND                              1:16-CV-03683
TRANSIT ADMINISTRATION,

         DEFENDANTS,



              PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

         COMES NOW Rye Keisha Jeffers, (“Plaintiff”), by and through her the undersigned

counsel, and hereby responds to the Defendants Motion to Dismiss (the “Motion”) and for

reasons state:

         1.       That Plaintiff’s claims should not be dismissed as the Plaintiff has properly

alleged claims upon which relief can be granted as more fully set forth in the accompanying

Memorandum in Support of her Complaint.

         2.       That as the Court is well aware, in regard to a motion to dismiss, the facts alleged

in the complaint are treated as true and are viewed in the light most favorable to the plaintiff. In

analyzing a Rule 12(b)(6) motion, the Court views all well-pleaded allegations in the light most

favorable to the plaintiff. Ibarra v. United States, 120 F.3d 472, 474 (4th Cir. 1997). “. Further,

all reasonable inferences must be resolved in favor of the complaint and the pleadings are to be

liberally construed to do so. Id. (Emphasis added).




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         3.       That such Memorandum of Law in support of Plaintiff’s claims be incorporated

by reference herein.

         WHEREFORE, Plaintiff, Rye Keisha Jeffers prays for relief as follows:

         (a) that the Defendants Motion to Dismiss be denied;

         (b) for her costs and attorneys fees; and

         (c) for all other proper relief to which this Plaintiff may be entitled.

                                                     Respectfully submitted,

                                                      LAW OFFICES OF KIM PARKER, P.A.

                                                      /s/ Kim Parker /s/
                                                      Kim Parker, Esquire
                                                      Federal Bar No. 23894
                                                      2123 Maryland Avenue
                                                      Baltimore, Maryland 21218
                                                      Office: 410-234-2621
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                                                      Counsel for Plaintiff Rye Keisha Jeffers


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 12th day of December 2016, a copy of the foregoing

Response to Motion to Dismiss was served on Counsel for the Defendants by the Courts ECF

Noticing System.

                                                 /s/ Kim Parker /s/
                                                 ____________________________
                                                 Kim Parker, Esquire
                                                 COUNSEL FOR PLAINTIFF




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